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                   UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS

CRAIG CUNNINGHAM,                    §
Plaintiff,                           §
                                     §
v.                                   §
                                     §
Channer, LLC, Jerome Davis, National § Civil Case No.: 3:17-CV-546-L
Debt Assistance, Plain Green LLC     §
Defendants.                          §
                                     §
                                     §
                                     §


                      Plaintiff’s Motion to Nonsuit John Does 1-5


 COMES NOW, Plaintiff Craig Cunningham, through counsel, hereby moves this Court to

 dismiss this defendants John Does 1-5, Channer, LLC, Jerome davis, and National debt

 Assistance WITHOUT PREJUDICE..




Dated: November 1, 2017



                                                  /s/ Aaron K. Mulvey__________

                                                  Aaron K. Mulvey
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